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 13
                         CENTRAL DISTRICT OF CALIFORNIA
 14
                                   WESTERN DIVISION
 15
      JOHNNY JOHNSON, EZRA                       Case No. 2:22-cv-08909-FMO-PLA
 16
      BOEKWEG, MARIO PALOMBINI,
 17   and ADAM TITCHER, Individually and         MEMORANDUM OF POINTS
 18   on Behalf of All Others Similarly          AND AUTHORITIES IN SUPPORT
      Situated,                                  OF MOTION TO DISMISS THE
 19                   Plaintiffs,                AMENDED COMPLAINT
 20         v.                                   Filed concurrently herewith:
 21                                              Notice of Motion and Motion, Request
      YUGA LABS, INC., et al.,                   for Judicial Notice, Declaration of Tala
 22
                     Defendants.                 Jayadevan, and [Proposed] Order
 23
                                                 DATE: October 19, 2023
 24
                                                 TIME: 10:00 a.m.
 25                                              CTRM: 6D
 26
                                                 Judge: Hon. Fernando M. Olguin
 27                                              Complaint Filed: December 8, 2022
 28
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  1                                    INTRODUCTION
  2         In this sprawling putative securities class action, Plaintiffs—purchasers of
  3   Bored Ape Yacht Club (“BAYC”) non-fungible tokens (“NFTs”), other NFTs, and
  4   cryptocurrencies (the “Products”)—have sued everyone from the NFTs’ creators; to
  5   the sports apparel company Adidas; to Justin Bieber, Snoop Dogg, and Madonna,
  6   among many, many others.
  7         Now, in a First Amended Complaint (“FAC”), Plaintiffs have added last-
  8   minute allegations against Sotheby’s Holdings Inc. (“Sotheby’s”). Plaintiffs’
  9   slapdash pleading against Sotheby’s contains multiple fatal deficiencies, each of
 10   which requires dismissal. Sotheby’s has nothing to do with the crux of Plaintiffs’
 11   claim—the drop in value, in the Summer of 2022, of the NFTs and cryptocurrencies
 12   they purchased. Sotheby’s did not issue the NFTs or cryptocurrencies or sell them to
 13   any of the Plaintiffs. Accordingly, Sotheby’s should be dismissed.
 14                                    BACKGROUND
 15         A.     Factual allegations.
 16         The FAC’s allegations against Sotheby’s have been tacked on to an existing
 17   complaint addressing entirely different conduct. See generally Dkt. 1 (original
 18   complaint). Although Plaintiffs attempt to draw Sotheby’s into other alleged schemes
 19   via innuendo and vague group pleading, the actual allegations against Sotheby’s are
 20   limited to the circumstances surrounding a single event: an auction on September 9,
 21   2021, in which Plaintiffs did not participate. See generally FAC ¶¶ 117-150.
 22         As the FAC alleges, Sotheby’s—a “storied arts dealer” with a “277-year
 23   history” (FAC ¶ 120)—auctioned a lot of 101 BAYC NFTs on September 9, 2021.
 24   Id. ¶ 130. Sotheby’s representatives are alleged to have made unremarkable
 25   statements on Twitter and elsewhere regarding the auction both before and during
 26   the event. See id. ¶¶ 118-130.
 27         Plaintiffs’ claims against Sotheby’s rest on a single unrecorded oral statement
 28
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  1   allegedly made by a Sotheby’s employee during a live Twitter Space1 immediately
  2   after the auction closed. See FAC ¶¶ 132-134, 142. Plaintiffs allege that, “following
  3   the final bid,” a “Sotheby’s representative affirmed … that the winning bidder was a
  4   ‘traditional’ collector.” Id. ¶ 132; see id. ¶¶ 133, 134.
  5         The FAC alleges that this statement was false, however, because “it was not a
  6   ‘traditional’ buyer that made the winning bid in the BAYC NFT auction, but rather
  7   the now-defunct cryptocurrency exchange FTX.” FAC ¶ 142. According to Plaintiffs,
  8   this alleged “traditional collector” statement gave a “boost” to “the price of BAYC
  9   NFTs.” Id. ¶ 141-142. The FAC asserts that the floor price for BAYC NFTs “fell …
 10   when news that FTX was the Sotheby’s auction’s real winning bidder was revealed
 11   to the market,” which it alleges occurred “on November 23, 2021.” Id.2
 12         B.     Procedural background.
 13         Plaintiffs filed their original complaint—which did not include any allegations
 14   regarding Sotheby’s—on December 8, 2022. Dkt. 1. Eight months later, on August
 15   4, 2023, Plaintiffs filed the FAC, bringing thirteen separate counts against twenty-
 16   nine defendants. Dkt. 114. Sotheby’s was served on August 23, 2023, resulting in a
 17   motion-to-dismiss deadline of September 13. Dkt. 129.
 18                                        ARGUMENT
 19         To survive a motion to dismiss, “a complaint must contain sufficient factual
 20   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
 21   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Even under this baseline standard, “[a]
 22   pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements
 23   of a cause of action will not do.’” Id.
 24   1
         “Spaces is a way to have live audio conversations on Twitter.” Twitter, About
 25   Twitter Spaces, https://help.twitter.com/en/using-twitter/spaces.
 26   2
         If this case progresses, Sotheby’s will prove this allegation factually incorrect.
 27   FTX was not the winning bidder of the BAYC NFT auction, and even if a Sotheby’s
      employee did make a “traditional collector” statement, it would have been accurate.
 28
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   1          This “putative securities fraud class action” is additionally “subject to the
   2   pleading requirements of the [Private Securities Litigation Reform Act, or] PSLRA.”
   3   Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049, 1061 (9th Cir. 2008).
   4   Plaintiffs must both “(1) ‘specify each statement alleged to have been misleading
   5   [and] the reason or reasons why the statement is misleading;’ and (2) ‘state with
   6   particularity facts giving rise to a strong inference that the defendant acted with the
   7   required state of mind.’” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,
   8   321 (2007) (quoting 15 U.S.C. § 78u-4(b)(1), (2)). Moreover, all the FAC’s claims
   9   are “grounded in fraud” and must satisfy Rule 9(b)’s particularity requirement. Carol
 10    Gamble Tr. 86 v. E-Rex, Inc., 84 F. App’x 975, 978 (9th Cir. 2004).
 11           Plaintiffs’ claims do not satisfy these standards as to Sotheby’s. For the Court’s
 12    convenience, we offer this summary of the myriad overlapping reasons why each of
 13    the ten claims against Sotheby’s fails: 3
 14        • Counts 1-3 (California UCL): Plaintiffs lack standing (pages 4-8); the UCL
             does not apply and its elements are not met (pages 20-21).
 15
           • Count 4 (federal unregistered securities): The claim is time-barred (pages
 16          8-9); Sotheby’s is not a statutory seller (pages 16-18); lack of domestic
             transaction (page 18).
 17
           • Count 6 (California unregistered securities): Plaintiffs lack standing (pages
 18          6-8); the claim is time-barred (pages 8-9); privity is lacking (page 19).
 19        • Count 7-8 (federal securities fraud): Plaintiffs lack standing (pages 4-6);
             materiality, loss causation, and scienter are lacking (pages 9-15); plaintiffs do
 20          not plead an actionable scheme (pages 15-16); lack of domestic transaction
             (page 18).
 21
           • Count 10 (California securities fraud): Plaintiffs lack standing (pages 4-8);
 22          privity is lacking (page 7 n.5); materiality is lacking (page 18).
 23        • Count 11 (California active trading): Plaintiffs lack standing (pages 6-8);
             active trading is not pleaded (pages 19-20).
 24
           • Count 13 (Unjust Enrichment): Plaintiffs lack standing (pages 4-8); there is
 25          no quasi-contract (page 21).
 26
 27    3
             Sotheby’s reserves the right to later argue that the securities claims fail because
 28    the Products are not securities under SEC v. W.J. Howey Co., 328 U.S. 293 (1946).
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   1   I.    All of Plaintiffs claims against Sotheby’s fail for threshold reasons.
   2         A.     Plaintiffs lack standing for their misrepresentation-based claims
                    (Counts 1-3, 7-8, 10 & 13).
   3
   4         Plaintiffs lack standing to bring any of their misrepresentation-based claims
   5   against Sotheby’s, because no named Plaintiff made any relevant purchases during
   6   the period Plaintiffs claim Sotheby’s employee’s statement affected prices.
   7         “[A]t least one named plaintiff must have standing with respect to each claim
   8   the class representatives seek to bring.” Fenerjian v. Nongshim Co., 72 F. Supp. 3d
   9   1058, 1082 (N.D. Cal. 2014). Under Ninth Circuit law, “where it is clear from the
 10    pleadings that class representatives lack standing to assert class claims, courts …
 11    routinely dismiss[] those claims at the pleadings stage.” Id. (collecting cases).
 12          Plaintiffs’ theory of injury with respect to each of the misrepresentation-based
 13    claims against Sotheby’s is that they “acquired [Products] at artificially high prices”
 14    due to “false [or] misleading … statements that … Sotheby’s made and approved.”
 15    FAC ¶ 614; see id. ¶ 474. It follows that Plaintiffs did not suffer any harm if they did
 16    not make relevant purchases during the time prices were allegedly inflated.
 17          The only specific misrepresentation alleged to have been made by Sotheby’s
 18    is the alleged “traditional collector” remark regarding the successful purchaser of the
 19    BAYC auction, which took place on September 9, 2021. See FAC ¶¶ 132-134, 142;
 20    see also id. ¶ 603(a) (listing this alleged statement by Sotheby’s, alone, as an “untrue
 21    statement[] and omission[] of material facts” for Plaintiffs’ Rule 10b-5 claim). And
 22    the FAC alleges that “news that FTX was the Sotheby’s auction’s real winning bidder
 23    was revealed to the market” “on November 23, 2021” (id. ¶ 147)—making
 24    September 9 through November 23, 2021, the only period during which Sotheby’s
 25    supposed misrepresentation could have led to “artificially high prices” (id. ¶ 614) in
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   1   what Plaintiffs allege to be an efficient market (see id. ¶¶ 474-475). 4
   2         The named Plaintiffs, however, do not contend that they made relevant
   3   purchases during this period of alleged price inflation. Plaintiffs allege that Titcher
   4   and Palombini purchased Products “on August 29, 2021” and “on April 30, 2021,”
   5   respectively—both of which were before Sotheby’s alleged traditional collector
   6   statement was made. FAC ¶ 454. Indeed, their PSLRA certifications, which must
   7   “set[] forth all of the transactions of the plaintiff” (15 U.S.C. § 78u-4(a)(2)(A)(iv)),
   8   affirmatively demonstrate that no named Plaintiff purchased a BAYC NFT between
   9   September 9 and November 23, 2021—the period during which Plaintiffs allege
 10    “Sotheby’s representations” were affecting “the market for BAYC NFTs.” FAC
 11    ¶ 141-142; see Dkt. 1-2 (Titcher certification); Dkt. 74-2 (Boekweg, Johnson, and
 12    Palombini certifications).
 13          Because no named Plaintiff purchased a BAYC NFT during the period when
 14    Sotheby’s alleged “traditional collector” statement was supposedly inflating the price
 15    of BAYC NFTs, no named Plaintiff has standing to bring a claim against Sotheby’s
 16    premised on that supposed misrepresentation. See Plumber & Steamfitters Local 773
 17    Pension Fund v. Danske Bank A/S, 11 F.4th 90, 104 (2d Cir. 2021) (“Plaintiffs
 18    alleging that they were damaged by purchasing securities at an inflated price cannot
 19
       4
           Plaintiffs allege without explanation that other statements by Sotheby’s—largely
 20    promoting the September 9, 2021, auction in advance—were also “misleading[].”
 21    FAC ¶ 118; see also id. ¶¶ 119-131, 135-139. But the FAC alleges nothing to
       “specify … the reason or reasons why [these other] statement[s] [are] misleading;”
 22    they are therefore insufficiently pleaded under the PSLRA. 15 U.S.C. § 78u-4(b)(1)
 23    (emphasis added); see, e.g., Metzler, 540 F.3d at 1070 (“A litany of alleged false
       statements, unaccompanied by the pleading of specific facts indicating why those
 24    statements were false, does not meet” the PSLRA’s “exacting requirements for
 25    pleading ‘falsity.’”). To the contrary, the additional alleged statements are legitimate
       promotion of an art auction, which is the core of Sotheby’s business. See, e.g., FAC
 26
       ¶ 120 (tweet simply announcing the auction). Similarly, while Plaintiffs passingly
 27    assert that the “auction” itself was “deceptive” (id. ¶ 117), they plead no facts
       remotely suggesting that the auction was anything but bona fide.
 28
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   1   maintain a securities fraud claim premised exclusively on statements made after the
   2   plaintiff’s final purchase of securities.”); Yan v. ReWalk Robatics, Ltd., 973 F.3d 22,
   3   35 (1st Cir. 2020) (similar); Okla. Firefighters Pension & Ret. Sys. v. Six Flags
   4   Entm’t Corp., 2023 WL 3781645, at *3 (N.D. Tex. June 2, 2023) (“A plaintiff who
   5   buys stock after a corrective disclosure cannot suffer an injury in fact.”). As such, no
   6   named Plaintiff may represent a class bringing such claims, and the claims must be
   7   dismissed. Fenerjian, 72 F. Supp. 3d at 1082.
   8          B.    Plaintiffs lack standing for any California-law claims.
   9          The named Plaintiffs similarly lack standing to bring any California-law
 10    claims against Sotheby’s, whether premised on misrepresentation or state securities
 11    law.
 12           “‘Courts routinely dismiss claims’ … ‘where no plaintiff is alleged to reside
 13    in a state whose laws the class seeks to enforce’ because the named plaintiff lacks
 14    standing to invoke the foreign statute.” Harris v. CVS Pharmacy, Inc., 2015 WL
 15    4694047, at *4 (C.D. Cal. Aug. 6, 2015) (collecting cases). As the FAC tacitly
 16    acknowledges, only Titcher—the sole California resident of the named Plaintiffs—
 17    even potentially could have standing to bring the California claims. See, e.g., FAC
 18    ¶ 578. But Titcher also lacks standing to bring the California claims against
 19    Sotheby’s (Counts 1-3, 6, 10-11 & 13), for multiple reasons.
 20           First, as discussed above, Titcher has no standing to bring any claim premised
 21    on alleged misrepresentation by Sotheby’s, because he is not alleged to have made
 22    any purchases during the period Plaintiffs claim Sotheby’s statement was inflating
 23    prices. See pages 4-6, supra; Dkt. 1-2 (PSLRA certification). This failing requires
 24    the dismissal of Counts 1-3, 10 & 13 with respect to Sotheby’s.
 25           That leaves Counts 6 & 11. Count 6 alleges the sale of unregistered securities
 26    under California Corporations Code §§ 25110 and 25503. See FAC ¶¶ 577-591. But
 27    Section 25503 creates liability only “to any person acquiring from [the defendant]
 28    the security sold in violation of” Section 25110. Cal. Corp. Code § 25503. The
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   1   California statute therefore requires transactional privity—that is, the plaintiff must
   2   have purchased a security directly from the defendant. Bowden v. Robinson, 67 Cal.
   3   App. 3d 705 (1977) (“[S]ection 25503, by the words ‘any person acquiring from him’
   4   has required privity, with some exceptions, as a condition of recovery.”); Zakinov v.
   5   Ripple Labs, Inc., 2020 WL 922815, at *15 (N.D. Cal. Feb. 26, 2020) (“Based on
   6   Bowden, the court concludes that plaintiff must allege privity to state a claim under
   7   § 25503.”).
   8         Titcher, however, does not allege that he purchased Products from Sotheby’s.
   9   Indeed, the only sale of Products by Sotheby’s alleged with any specificity is the
 10    September 9, 2021, BAYC auction in which no Plaintiff is alleged to have
 11    participated. See FAC ¶¶ 130, 142. Titcher thus cannot maintain a claim under
 12    Sections 25110 and 25503.5
 13          Count 11, for alleged manipulative trading in violation of California
 14    Corporations Code §§ 25400 & 25500, similarly fails. See FAC ¶ 676. Those sections
 15    permit suit only by a “person who purchases or sells any security at a price which
 16    was affected by [the defendant’s allegedly manipulative] act or transaction.” Cal.
 17    Corp. Code § 25500. Again, Titcher is alleged to have made purchases only (a) before
 18    the Sotheby’s auction, and (b) long after Plaintiffs allege the truth surrounding the
 19    auction “was revealed to the market.” FAC ¶ 147; see Dkt. 1-2 (PSLRA certification);
 20    pages 4-6, supra. The prices at which Titcher purchased thus cannot have been
 21    “affected by” any alleged manipulation by Sotheby’s in connection with the auction.
 22    Cal. Corp. Code § 25500; see, e.g., Plumber & Steamfitters, 11 F.4th at 104.
 23
       5
           The same is true of Count 10, which alleges California-law securities fraud. This
 24    statute, too, requires transactional privity. See Cal. Corp. Code § 25501 (imposing
 25    liability on a defendant “to the person who purchases a security from” that
       defendant); Apollo Cap. Fund, LLC v. Roth Cap. Partners, LLC, 158 Cal. App. 4th
 26
       226, 253 (2007) (“Section 25501 on its face requires privity between the plaintiff and
 27    the defendant.”). Titcher therefore lacks standing to bring Count 10 for this
       independent reason as well. See also page 6, supra.
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   1         C.     The unregistered-securities claims are time-barred.
   2         Finally, two of Plaintiffs’ claims against Sotheby’s are time-barred. See Seven
   3   Arts Filmed Entm’t Ltd. v. Content Media Corp., 733 F.3d 1251, 1254 (9th Cir. 2013)
   4   (“A statute-of-limitations defense, if ‘apparent from the face of the complaint,’ may
   5   properly be raised in a motion to dismiss.”).
   6         Counts 4 and 6 allege the sale of unregistered securities under federal and state
   7   law, respectively. See generally FAC ¶¶ 559-568 (citing 15 U.S.C. §§ 77e(a), (c),
   8   77l(a)(1)); id. ¶¶ 577-591 (citing Cal. Corp. Code §§ 25110, 25503). The federal
   9   claim carries a one-year statute of limitation that runs from the date of the sale, does
 10    not include a discovery rule, and cannot be tolled. 15 U.S.C. § 77m (“No action shall
 11    be maintained to enforce any … liability created under section 77l(a)(1) of this title,
 12    unless brought within one year after the violation.”); see Nolfi v. Ohio Kent. Oil
 13    Corp., 675 F.3d 538, 553 (6th Cir. 2012) (rejecting a “discovery rule for § 12(a)(1)
 14    claims,” and holding that “equitable tolling does not apply”); Fabian v. LeMahieu,
 15    2019 WL 4918431, at *8 (N.D. Cal. Oct. 4, 2019) (collecting cases). The California
 16    statute also carries a one-year bar, running from the date of discovery. Cal. Corp.
 17    Code § 25507(a).
 18          The only alleged sale by Sotheby’s pleaded in the FAC is the September 9,
 19    2021 BAYC auction. See FAC ¶ 130.6 Plaintiffs affirmatively allege that they were
 20    aware of the auction contemporaneously. Id. ¶ 454. The statute of limitations for both
 21    claims therefore expired on September 9, 2022—nine months before Plaintiffs filed
 22    the FAC, naming Sotheby’s for the first time. 7
 23
       6
          Moreover, Titcher—the sole California Plaintiff—alleges no purchase (even from
 24    other sellers) within the limitations period, thus lacking standing. Dkt. 1-2 (PSLRA
 25    certification).
 26    7
           Nor does the FAC relate back to the original complaint as to Sotheby’s. “[A]n
 27    amended complaint that seeks to add new defendants will relate back … if either: (1)
       [it] relates back under applicable state law; or (2) [it] satisfies the requirements of
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   1   II.   Plaintiffs’ claims fail on the merits.
   2         In addition to these threshold defects, which collectively infect each of
   3   Plaintiffs’ claims against Sotheby’s, each claim also fails on the merits.
   4         A.     The Rule 10b-5 claims fail on multiple grounds (Counts 7-8).
   5         The elements of Plaintiffs’ Rule 10b-5 claim are “(1) a material
   6   misrepresentation or omission by the defendant; (2) scienter; (3) a connection
   7   between the misrepresentation or omission and the purchase or sale of a security; (4)
   8   reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss
   9   causation.” Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 267 (2014)
 10    (quotation marks omitted). Several of these elements are absent here.
 11                 1.    Materiality and loss causation are lacking.
 12          Plaintiffs’ securities-fraud theory is that Sotheby’s alleged misrepresentation
 13    regarding the identity of the BAYC auction buyer caused the price of BAYC NFTs
 14    to be artificially inflated between September 9, 2021 (the date of the alleged
 15    misstatement) and November 23, 2021 (the date of the alleged corrective disclosure).
 16    See FAC ¶¶ 130, 141-142, 147; see also id. ¶ 603(a). But Plaintiffs fail adequately to
 17    plead either materiality or loss causation, because the price of BAYC NFTs did not
 18    drop when the supposed misrepresentation “was revealed to the market.” Id. ¶ 147.
 19          The FAC uses the “floor price” of the BAYC NFT collection—that is, “the
 20    lowest price an NFT in the collection can be purchased for” (FAC ¶ 54)—to represent
 21    the market price for BAYC NFTs. See, e.g., id. ¶ 147 (alleging that “[t]he floor price
 22
 23    Rule 15(c)(1)(C).” Jackson v. Med. Bd. of Cal., 2012 WL 13019955, at *7 (C.D. Cal.
       Apr. 19, 2012). Under California law, “an amended complaint that adds a new
 24    defendant does not relate back.” Nghiem v. Santa Clara Univ., 2023 WL 3012494, at
 25    *3 (N.D. Cal. 2023). And Rule 15(c)(1)(C) only permits an amendment to add a party
       where that party’s omission from the original complaint resulted from “a mistake
 26
       concerning the proper party’s identity”; it does not allow relation back where a
 27    plaintiff adds new claims against new defendants based on new conduct. Fed. R. Civ.
       P. 15(c)(1)(C), (B); Nghiem, 2023 WL 3012494, at *4.
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   1   for BAYC NFTs fell” between November 19 and November 23, 2021); id. ¶¶ 621-
   2   626 (similar reliance on floor price). Assuming arguendo that floor price is
   3   equivalent to the market price of a traditional security (a necessary precondition for
   4   Plaintiffs’ invocation of the fraud-on-the-market presumption of reliance, see FAC
   5   ¶¶ 474-475; Halliburton Co., 573 U.S. at 268), 8 the BAYC floor price history
   6   affirmatively disproves multiple elements of Plaintiffs’ claim as it relates to
   7   Sotheby’s.
   8         As noted, Plaintiffs allege that “news that FTX was the Sotheby’s auction’s
   9   real winning bidder was revealed to the market” “on November 23, 2021.” FAC
 10    ¶ 147. But as judicially noticeable historical price data establish, the floor price in
 11    dollars of the BAYC NFT collection actually went up by over 5% on November 23,
 12    2021, the day of the supposed corrective disclosure. See Request for Judicial Notice
 13    (RJN) Ex. A (showing a rise in floor price from $182,341 on November 22, 2021, to
 14    $192,176 on November 23, 2021).9
 15          That is fatal to both loss causation and materiality. To plead loss causation,
 16    “the complaint must allege that the defendant’s ‘share price fell significantly after
 17    the truth became known.’” Metzler, 540 F.3d at 1062; see also In re Oracle Corp.
 18    Sec. Litig., 627 F.3d 376, 393 (9th Cir. 2010). Indeed, the Ninth Circuit recently
 19    explained that loss causation cannot be sufficiently pleaded even where the price does
 20    drop “modest[ly]” upon “the disclosure of certain news,” so long as it “‘recover[s]
 21
 22
       8
              In fact, the fraud-on-the-market theory does not apply to the Products
       (including the NFT Products, which are by definition non-fungible and vary widely
 23    in price within the collection), because Plaintiffs have not adequately pleaded that
 24    the Products traded in an efficient market. ScripsAmerica, Inc. v. Ironridge Global
       LLC, 119 F. Supp. 3d 1213, 1249-1258 (C.D. Cal. 2015); see also Yuga Br. 24-25.
 25
       9
           To the extent relevant, the floor price of MAYC NFTs also rose from $24,181 on
 26
       November 22, 2021, to $25,647 on November 23, 2021. RJN Ex. B. When measured
 27    in ETH rather than dollars, the MAYC floor price remained precisely flat, at 5.9 ETH.
       Id.
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   1   very shortly after.’” Wochos v. Tesla, Inc., 985 F.3d 1180, 1197-1198 (9th Cir. 2021)
   2   (holding that “quick and sustained price recovery after [a] modest [price] drop”
   3   precludes adequate pleading of loss causation). It follows a fortiori that if—as here—
   4   the price of a Product does not drop, loss causation is similarly impossible to
   5   establish. 10
   6          The lack of a drop in the floor price similarly precludes Plaintiffs from
   7   pleading materiality. “If the disclosure of certain information has no effect on stock
   8   prices, it follows that the information disclosed was immaterial as a matter of law.”
   9   In re Cooper Sec. Litig., 691 F. Supp. 2d 1105, 1115 (C.D. Cal. 2010). The absence
 10    of a price drop upon the disclosure of FTX’s alleged purchase thus demonstrates that
 11    the alleged “traditional collector” statement cannot have been material.
 12           Nor can Plaintiffs contend that the market for BAYC NFTs somehow did not
 13    immediately digest the alleged November 23, 2021, disclosure. Plaintiffs’ theory
 14    against Sotheby’s is premised on the fraud-on-the-market presumption of reliance,
 15    and “the foundation for the fraud on the market theory” is that “unexpected corporate
 16    events or financial releases” result in “an immediate response in the stock price.”
 17    ScripsAmerica, Inc. v. Ironridge Global LLC, 119 F. Supp. 3d 1213, 1256 (C.D. Cal.
 18    2015). In other words, “Plaintiffs ‘cannot contend that the market is efficient for
 19    purposes of reliance and then cast the theory aside when it no longer suits their needs
 20    for purposes of loss causation.” Mandalevy v. Bofl Holding, Inc., 2018 WL 3032588,
 21
 22    10
          Under Wochos, the same result obtains if the Court analyzes the floor price
 23    expressed in ETH rather than dollars. On an ETH basis, the BAYC floor price
       dropped less than 1% between November 22 and November 23, from 44.49 to 44.21.
 24    RJN Ex. A. But it immediately recovered to 44.89 ETH on November 24, and
 25    continued to trend sharply upward thereafter, reaching 60 ETH by December 31. Id.
       As in Wochos, “[t]he quick and sustained price recovery after the modest [November
 26
       23] drop refutes the inference that … this particular fact caused any material drop in
 27    the [floor] price” (Wochos, 985 F.3d at 1198)—thus requiring dismissal for lack of
       loss causation if analyzed by the ETH price, too.
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   1   at *14 (S.D. Cal. June 19, 2018). Because the market for BAYC NFTs was unaffected
   2   when the truth of Sotheby’s purported misrepresentation “was revealed to the
   3   market” (FAC ¶ 147), Plaintiffs do not—and cannot—plead materiality or loss
   4   causation.
   5                2.     Plaintiffs do not allege scienter.
   6          Plaintiffs also fail to adequately plead scienter with respect to the only alleged
   7   misstatement by Sotheby’s: the alleged traditional-collector remark. See page 5 n.4,
   8   supra (no other Sotheby’s statements sufficiently pleaded to be misleading).
   9          The PSLRA requires plaintiffs to “state with particularity facts giving rise to a
 10    strong inference that the defendant acted with the required state of mind” (15 U.S.C.
 11    § 78u-4(b)(2) (emphasis added))—that is, that “the defendant made false or
 12    misleading statements with an ‘intent to deceive, manipulate, or defraud,’ or with
 13    deliberate recklessness,” meaning “an extreme departure from the standards of
 14    ordinary care.” Prodanova v. H.C. Wainwright & Co., 993 F.3d 1097, 1106 (9th Cir.
 15    2021). Therefore, “the court … ‘must take into account plausible opposing
 16    inferences,” and “[t]he complaint will survive … ‘only if a reasonable person would
 17    deem the inference of scienter cogent and at least as compelling as any opposing
 18    inference one could draw from the facts alleged.’” McGee v. Am. Oriental
 19    Bioengineering, Inc., 2014 WL 12586107, at *9 (C.D. Cal. Sept. 23, 2014) (Olguin,
 20    J.).
 21           First, Plaintiffs have a collective pleading problem. Generally, in order to plead
 22    scienter for a corporation, “the PSLRA requires [a plaintiff] to plead scienter with
 23    respect to those individuals who actually made the false statements.” Glazer Capital
 24    Mgmt, LP v. Magistri, 549 F.3d 736, 745 (9th Cir. 2008); Prodanova, 993 F.3d at
 25    1108 (“[B]ecause a corporation can only act through its employees and agents, it can
 26    only have scienter through them.”). But the FAC contains no allegation that the
 27    individual Sotheby’s representative who supposedly made the alleged “traditional
 28    collector” remark even knew of the alleged falsity of that statement at the time it was
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   1   made, much less that he acted with “intent to deceive, manipulate, or defraud, or with
   2   deliberate recklessness.” Id. at 1106; see FAC ¶¶ 132-134. Instead, it asserts scienter
   3   only with respect to Sotheby’s, the entity. Id. ¶¶ 143, 612.
   4         But such a “corporate scienter” allegation can only even potentially satisfy the
   5   PSLRA’s requirements if the “statements were … ‘so dramatically false’—as in [an]
   6   example posed by the Seventh Circuit [of an automaker reporting sales of one million
   7   vehicles, when it actually sold zero]—to create an inference of scienter that at least
   8   some corporate officials knew of the falsity upon publication.” In re NVIDIA Corp.
   9   Sec. Litig., 768 F.3d 1046, 1063 (9th Cir. 2014). The allegation here—that there was
 10    a fleeting misstatement as to the identity of the buyer of a single one of the hundreds
 11    of multi-million dollar auctions Sotheby’s conducted in 2021—is not remotely close
 12    to an automaker selling zero SUVs, but claiming one million sales; it is thus not “so
 13    important and so dramatically false that [it] would create a strong inference that at
 14    least some corporate officials knew of the falsity.” Id. Because the corporate scienter
 15    doctrine is unavailable to Plaintiffs, their failure to plead scienter of the person who
 16    made the alleged misstatement is fatal to their claims. Id.; see also Glazer Capital
 17    Mgmt, 549 F.3d at 745.
 18          Even setting this problem aside, and accepting arguendo Plaintiff’s faulty
 19    premise that the purchaser was not a traditional collector, Plaintiffs’ suggested
 20    inference that Sotheby’s acted with “intent to deceive, manipulate, or defraud”
 21    (Prodanova, 993 F.3d at 1106) is much less “cogent” and “compelling” than the
 22    “opposing inference one could draw from the facts alleged” (Tellabs, 551 U.S. at
 23    324)—specifically, that the Sotheby’s representative who made the alleged statement
 24    was simply mistaken about the characteristics of the winning bidder, or misspoke
 25    during live, off-the-cuff, unrecorded remarks.
 26          Importantly, materials incorporated into the FAC demonstrate that the alleged
 27    statement about the winning bidder was made no more than three minutes after the
 28    end of the auction. See RJN Exs. D, E (showing 10:01 a.m. end time for the auction),
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   1   Ex. C (tweet reproduced at FAC ¶ 133 reporting alleged traditional collector remark,
   2   timestamped 10:04 a.m.). More, the FAC alleges that, when discussing the auction
   3   later that day with more time to collect the facts, Sotheby’s explained that “legacy art
   4   collectors were heavily involved in the bidding,” not that one had won the auction.
   5   FAC ¶ 136 (emphasis added). And, critically, plaintiffs do not allege that this second
   6   statement—that traditional art collectors “were heavily involved in the bidding” for
   7   the BAYC NFTs—was false; nor could they.
   8         Given all of these facts, the more “compelling … inference” to be drawn from
   9   the FAC’s allegations (Tellabs, 551 U.S. at 324) is that a Sotheby’s representative—
 10    speaking at most three minutes after the winning bidder was determined, and
 11    therefore with almost no time to confirm the relevant facts—simply misspoke or
 12    misunderstood the identity of the winning bidder among all the “legacy art collectors”
 13    who were “heavily involved in the bidding” FAC ¶ 136. Assuming again Plaintiffs’
 14    faulty premise that there even was a misstatement, this inference of a fleeting
 15    misunderstanding or innocent misstatement is significantly more “compelling” than
 16    the “competing inference” Plaintiffs wish to draw: that Sotheby’s hatched a scheme
 17    to deceive in the three minutes after the auction ended, yet communicated the
 18    keystone misrepresentation only in a single Twitter Spaces conversation and not in
 19    later public statements, all for a nebulous benefit to either the company or the
 20    individual speaker. See McGee, 2014 WL 12586107, at *15 (Olguin, J.) (“Given the
 21    absence of other indicia of scienter, the lack of an alleged motive is particularly
 22    significant.”); cf. Prodanova, 993 F.3d at 1107 (“[A] company’s apparent error—
 23    even an embarrassing or inexplicable one—does not establish fraudulent intent.”).
 24          In all, Plaintiff’s farfetched allegations of intentional or deliberately reckless
 25    deceit are not “cogent and at least as compelling as any opposing inference one could
 26    draw from the facts alleged.” Prodanova, 993 F.3d at 1108. The FAC does not “meet
 27    the PSLRA’s high burden for pleading scienter.” Id..
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   1                3.    Plaintiffs do not plead scheme liability.
   2         Count 8 brings a scheme-liability claim under Rule 10b-5(a) and (c). See 17
   3   C.F.R. § 240.10b-5(a), (c). “To allege a claim for scheme liability, a plaintiff must
   4   allege the elements of a securities fraud claim,” with an element that “the defendant
   5   committed a deceptive or manipulative act in furtherance of the alleged scheme”
   6   replacing the element of a material misstatement. In re Galena Biopharma, Inc., Sec.
   7   Litig., 117 F. Supp. 3d 1145, 1192 (D. Or. 2015). “[T]he conduct underlying claims
   8   for scheme liability must be alleged with particularity under Rule 9(b).” Id. at 1193.
   9         First, Plaintiffs do not “articulate with precision the contours of an alleged
 10    scheme to defraud investors, or which specific acts were conducted in furtherance of
 11    it,” and therefore fail the heightened Rule 9(b) pleading standard. Plumber &
 12    Steamfitters, 11 F.4th at 105. As in Plumber & Steamfitters, “[i]nstead, the claim
 13    rests upon the incorporation of the previous 140 pages of the pleading paired with
 14    the conclusory assertion that” some unknown combination of those acts constitute an
 15    actionable scheme. Id.; compare FAC ¶ 639-641. But “[a]bsent some sort of
 16    enumeration of which specific acts constituted an alleged scheme in connection with
 17    the purchase or sale of securities, [Plaintiffs’] claim does not comply with the
 18    applicable heightened pleading standard and cannot go forward.” Id.; Khoja v.
 19    Orexigen Therapeutics, Inc., 899 F.3d 988, 1017-1018 (9th Cir. 2018) (similar).
 20          Setting aside this pleading defect, the scheme-liability claim against Sotheby’s
 21    (Count 8) is duplicative of the misrepresentation claim (Count 7). As noted, the
 22    specific factual allegations against Sotheby’s (aside from the alleged “traditional
 23    collector” statement) are simply that Sotheby’s conducted an auction of digital art in
 24    the normal course of its business (FAC ¶¶ 117, 130); advertised that auction
 25    beforehand, and celebrated it afterwards, through perfectly legitimate public
 26    statements (FAC ¶¶ 119-126, 131, 137-139); and had a business strategy to increase
 27    its digital art offerings and thereby attract new customers (FAC ¶¶ 126-129). Nothing
 28    about any of that conduct is “deceptive or manipulative” (Galena, 117 F. Supp. 3d at
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   1   1192), and the FAC contains no allegations attempting to suggest otherwise. These
   2   allegations thus add nothing of substance to the misrepresentation claim, and Count
   3   8 must be dismissed for the same reasons as Count 7. See, e.g., Kang v. PayPal
   4   Holdings, Inc., 620 F. Supp. 3d 884, 902 (N.D. Cal. 2022) (dismissing scheme-
   5   liability claim where the “alleged scheme consists entirely of (and fails for the same
   6   reasons as) the [affirmative] misstatements analyzed above” under Rule 10b-5(b)).
   7          B.     Sotheby’s is not a statutory seller (Count 4).
   8          A defendant is a statutory seller, as required for a Section 12(a)(1) claim, only
   9   if it (i) “passed title, or other interest in the security, to the buyer for value,” or (ii)
 10    “successfully solicit[ed] the purchase [of a security], motivated at least in part by a
 11    desire to serve [its] own financial interests or those of the securities’ owner.” Pinter
 12    v. Dahl, 486 U.S. 622, 642 (1988). Here, there is no allegation that Sotheby’s directly
 13    “passed title” to any plaintiff or class member; Plaintiffs instead rely solely on the
 14    solicitation prong, asserting that various public statements constitute solicitation.
 15    FAC ¶ 566.
 16           But the FAC does not adequately plead that Sotheby’s successfully solicited
 17    Product purchases by Plaintiffs, much less for financial gain. A solicitation need not
 18    be “targeted to a particular plaintiff,” but it still “must urge or persuade another to
 19    buy a particular security.” Pino v. Cardone Capital, LLC, 55 F.4th 1253, 1258, 1260
 20    (9th Cir. 2022). As noted above, most of the specific allegations regarding Sotheby’s
 21    involve promotion of the BAYC auction. See FAC ¶¶ 119-125. But Plaintiffs
 22    affirmatively allege that none of them purchased NFTs at that auction, disentitling
 23    them to bring suit with respect to those statements. See Rieckborn v. Jefferies LLC,
 24    81 F. Supp. 3d 902, 925 (N.D. Cal. 2015) (“A plaintiff has standing to bring a Section
 25    12(a)(2) claim,” which is interpreted in parallel to Section 12(a)(1) with respect to
 26    the statutory-seller requirement, “only against a ‘statutory seller’ from which the
 27    plaintiff purchased the security at issue.”) (emphasis added).
 28           Nor do any of Sotheby’s other alleged statements—such as those about the
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   1   overall NFT market (FAC ¶ 137), or expressing “excit[ement]” about “the [BAYC]
   2   project” (id. ¶ 139)—come close to the affirmative “urg[ing] or persua[sion]” held
   3   actionable in other cases. Pino, 55 F.4th at 1258; see id. at 1256 (social media post
   4   asking “[w]ant to double your money[?],” and promising “north of 15% returns,” in
   5   connection with specific investment opportunity); Underwood v. Coinbase Global,
   6   Inc., 2023 WL 1431965, at *9 (S.D.N.Y. Feb. 1, 2023) (cryptocurrency exchange did
   7   not engage in solicitation because its “activities … are of a piece with the marketing
   8   efforts, ‘materials,’ and ‘services’ that courts, applying Pinter’s second prong, have
   9   held insufficient to establish active solicitation by a defendant.”). Indeed, if simply
 10    speaking positively about an asset class—neither targeted toward a particular listener
 11    nor in connection with any specific proposed sale—could create statutory-seller
 12    liability, Section 12(a)(1) would “impose liability on participants collateral to the
 13    offer or sale,” in direct contravention of Pinter. 486 U.S. at 650. Because the alleged
 14    statements by Sotheby’s are, at best, “collateral to” any purchase by Plaintiffs (id.),
 15    the statements are not solicitations.
 16          Second, even if these statements could be construed as solicitations, they
 17    would not satisfy the requirement that the statutory “seller must have his own,
 18    independent financial interest in the sale.” Pino, 55 F.4th at 1259; see also id. (“[T]he
 19    plaintiff must show that the defendants solicited purchase of the security for their
 20    own financial gain.”). Sotheby’s is not alleged to have any financial interest
 21    whatsoever in any purchase of NFTs or cryptocurrencies by any plaintiff; it is only
 22    alleged to have a financial interest in its own auctions (FAC ¶ 127)—but again,
 23    Plaintiffs do not allege that they participated in any Sotheby’s auction.
 24          C.     The federal claims fail to allege a domestic transaction (Counts 4,
                    7-8).
 25
 26          The federal securities claims also fail to state a claim because they do not
 27    adequately allege a domestic transaction, as required by Morrison v. Nat’l Australia
 28    Bank Ltd., 561 U.S. 247 (2010).
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   1         The federal securities laws cover only conduct “in connection with [i] the
   2   purchase or sale of a security listed on an American stock exchange, and [ii] the
   3   purchase or sale of any other security in the United States.” Morrison, 561 U.S. at
   4   273. The first prong is not satisfied here, because the FAC does not plead that
   5   Opensea, or any other service through which Plaintiffs purchased Products, is a
   6   domestic “exchange” within the meaning of the Exchange Act. See Stoyas v. Toshiba
   7   Corp., 896 F.3d 933, 945-947 (9th Cir. 2018) (holding that over-the-counter market
   8   was not an exchange). Nor does the FAC plead non-exchange purchases “in the
   9   United States,” which would require specific allegations regarding “where the parties
 10    to the transaction incurred irrevocable liability.” Id. at 949. The absence of such
 11    allegations here requires dismissal. See Yuga Br. 31-32.
 12          D.     The California misrepresentation claim fails (Count 10).
 13          The California-law securities fraud claim (Count 10) fails on the merits for the
 14    lack of materiality discussed above with respect to the Rule 10b-5 claim: Because the
 15    price of BAYC NFTs did not drop when the truth about the auction buyer became
 16    known, any earlier alleged misrepresentation about the buyer’s identity was
 17    immaterial as a matter of law. Pages 9-12, supra; see OCG Energy, LLC v. Shen,
 18    2023 WL 4681640, at *9 (C.D. Cal. June 7, 2023) (“A primary violation under
 19    Sections 25401 and 25501 requires … a material misrepresentation or omission.”).
 20          E.     The California unregistered-securities claim fails (Count 6).
 21          As described above, Count 6 alleges the sale of unregistered securities under
 22    California Corporation Code §§ 25110 and 25503—but these provisions require
 23    transactional privity between the plaintiff and the defendant. See pages 6-7, supra.
 24    Not only does that mean that Titcher lacks standing to bring this class-action claim
 25    because he did not purchase directly from Sotheby’s (see page 7, supra), it also means
 26    that no class member has a claim, since the FAC alleges only one sale of Products by
 27    Sotheby’s—the September 9, 2021, auction—and the allegation is that the buyer
 28    there was FTX, not any class member.
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   1         F.     Plaintiffs do not plead active trading (Count 11).
   2         Count 11 invokes a California statute prohibiting “transactions in any security
   3   creating actual or apparent active trading in any security … for the purpose of
   4   inducing the purchase or sale of such security by others.” Cal. Corp. Code § 25400.
   5   There is only a single allegation directed at Sotheby’s with respect to this claim, and
   6   that paragraph merely parrots the language of the statute verbatim; it is therefore not
   7   pleaded sufficiently under Iqbal. Compare Cal. Corp. Code § 25400(b) with FAC ¶
   8   676; see Iqbal, 556 U.S. at 678 (“[A] formulaic recitation of the elements of a cause
   9   of action will not do.”).
 10          Moreover, the FAC’s allegations of fact do not contain “a series of transactions
 11    with FTX during the Sotheby’s auction that created apparent active trading.” Contra
 12    FAC ¶ 676. Rather, the FAC alleges a single transaction during which “Sotheby’s
 13    transferred the lot of BAYC NFTs” to a wallet “owned/controlled by FTX” after FTX
 14    is alleged to have won the auction. FAC ¶ 144. That is, Sotheby’s is alleged to have
 15    delivered the auctioned property to the winning bidder in the normal course, a
 16    legitimate transaction necessary for the completion of the auction. See, e.g., Monster,
 17    LLC v. Beats Elecs., LLC, 2020 WL 5014610, at *11 n.11 (Cal. App. 2020) (Section
 18    25400 claim “fails because the … transaction involved a genuine change in
 19    ownership”). Nor is there a plausible allegation that this transaction was performed
 20    “for the purpose of inducing the purchase or sale of [BAYC NFTs] by others” (Cal.
 21    Corp. Code § 25400(b)), rather than for the purpose of transferring the auction lot to
 22    the winning bidder, as Sotheby’s was required to do.
 23          G.     The UCL claims fail (Counts 1-3).
 24          Plaintiffs’ claims under the California Unfair Competition Law are defective
 25    on multiple grounds. See Yuga Br. 32-36.
 26          First, the UCL is categorically inapplicable to securities. See, e.g., Bowen v.
 27    Ziasun Techs., Inc., 116 Cal. App. 4th 777, 786 (2004) (“[S]ection 17200 does not
 28    apply to securities transactions.”). The UCL claims are therefore incompatible with
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   1   the fundamental theory of Plaintiffs’ case: that the products at issue are allegedly
   2   securities.
   3          Second, the UCL requires actual reliance by the plaintiffs, which is not alleged
   4   here, much less with the particularity required by Rule 9(b). See, e.g., Bronson v.
   5   Johnson & Johnson, Inc., 2013 WL 1629191, at *2 (N.D. Cal. Apr. 16, 2013) (“In
   6   order to have standing to bring a UCL . . . claim, Plaintiffs must plead that they relied
   7   on the misleading materials.”) (collecting cases). The only statement by Sotheby’s
   8   plausibly or specifically alleged to be misleading is the alleged “traditional collector”
   9   remark, and Plaintiff Titcher cannot have relied on that remark to make a purchase
 10    that occurred before the statement was made. See pages 4-6, supra.
 11          Third, as explained above (at 9-12), Plaintiffs fail to plead loss causation with
 12    regard to any conduct or statement by Sotheby’s, as the price of the relevant Products
 13    did not drop when Sotheby’s supposed misrepresentation was revealed; instead,
 14    prices continued to skyrocket for months. FAC ¶ 141. That is fatal to their UCL
 15    claims, too. See Chu v. Fay Serv., LLC, 2016 WL 5846990, at *6 (N.D. Cal. Oct. 6,
 16    2016) (“Plaintiff’s UCL case must be dismissed for failure to plead harm resulting
 17    from the challenged actions in this case.”).
 18          Fourth, Plaintiffs do not plead any unlawful, unfair, or fraudulent acts by
 19    Sotheby’s. Because Plaintiffs’ direct claims of illegality fail, their “derivative UCL
 20    claim[s]” under the “unlawful” prong do too. Aleksick v. 7–Eleven, Inc., 205 Cal.
 21    App. 4th 1176, 1185 (2012). Nor, as discussed above, have Plaintiffs pleaded
 22    fraudulent conduct by Sotheby’s. See pages 9-16, supra. As for the “unfair” prong,
 23    Plaintiffs offer only a “recitation of the ‘unfair’ legal standard” rather than specific
 24    factual allegations, which is “conclusory and insufficient to state a claim.” In re Apple
 25    Processor Litig., 2022 WL 2064975, at *13 (N.D. Cal. June 8, 2022).
 26          H.      The unjust enrichment count fails (Count 13).
 27          “[I]n California, there is not a standalone cause of action for ‘unjust
 28    enrichment.’” Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015).
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   1   To the extent Count 13 may be “construe[d] … as a quasi-contract claim,” the FAC
   2   does not plead any “benefit” “unjustly conferred” on Sotheby’s by the Plaintiffs
   3   (much less an unjustly retained one): Plaintiffs are not alleged to have participated in
   4   any auction or interacted with Sotheby’s in any way. Id. This claim fails as well. See
   5   Yuga Br. 39.
   6   III.   The Court should decline pendent jurisdiction.
   7          Alternatively, if the Court dismisses the federal claims against Sotheby’s, it
   8   should decline pendent personal jurisdiction with respect to any remaining state-law
   9   claims. See Goldberg v. Rome McGuigan, P.C., 2021 WL 3520725, at *3 (C.D. Cal.
 10    Apr. 23, 2021) (declining pendent jurisdiction over state claims after dismissing
 11    federal securities claims on the merits); see also Yuga Br. 41-42.
 12           Without the federal securities claims, there is no independent basis for personal
 13    jurisdiction: Sotheby’s is neither incorporated nor headquartered in California,
 14    precluding general jurisdiction (FAC ¶ 43), and the FAC alleges no “act by which”
 15    Sotheby’s “purposefully avail[ed] itself of the privilege of conducting activities
 16    within California,” as required for specific jurisdiction. Goodyear Dunlop Tires
 17    Operations, S.A. v. Brown, 564 U.S. 915, 924-925 (2011). The Court should decline
 18    pendent jurisdiction and dismiss Sotheby’s.
 19                                       CONCLUSION
 20           The Court should dismiss all claims against Sotheby’s with prejudice.
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 22                                     Respectfully submitted,
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   1                         CERTIFICATE OF COMPLIANCE
   2         The undersigned, counsel of record for Defendant Sotheby’s Holdings Inc.,
   3   certifies that this brief contains 6,994 words, which complies with the word limit of
   4   L.R. 11-6.1.
   5
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